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ORDER 439615

DOCKET NO: NNICV2060191498 SUPERIOR COURT
U.S. BANK TRUST, N.A., AS TRUSTEE JUDICIAL DISTRICT OF NEW HAVEN
FOR LSF9 MASTER Et Ai AT MERIDEN
V.
SIMONE, BARBARA Et Al 10/29/2021
ORDER
ORDER REGARDING:

10/29/2021 139.00 AFFIDAVIT BY DEFENDANT AND OBJECTION TO EXECUTION -
SUMMARY PROCESS

The foregoing, having been considered by the Court, is hereby:
ORDER: OVERRULED
MEMO OF DECISION — DEFENDANTS OBJECTION TO EXECUTION - # 139

Based on the court’s review of the defendants Henry and Barbara Simone’s Affidavit and Objection to
Execution dated Oct. 29, 2021, this court finds no legal basis or factual basis for such, and the Objection
is therefore OVERRULED.

The defendants Simone have not raised any new issue that has not already been part of the many prior
hearings in this matter. In this new Affidavit and Objection, they are simply trying to rehash issues
already raised at the summary process trial and at prior hearings.

Therefore, the court will NOT stay the execution issuance scheduled for November 1, 2021.
PROCEDURAL BACKGROUND

The court notes that this summary process action was commenced by Complaint dated Dec. 23, 2019;
and by notice to quit served on these defendant as of November 18, 2019.

Since its filing many months ago, this court has heard numerous hearings through 2020 and 2021 on this
matter. The court has referred this to two mediation sessions on Oct. 9, 2020 and Sept. 17, 2021; and the
court has conducted hearings on March 8, 2021; April 21, 2021; August 4, 2021; Sept. 17, 2021 and
October 21, 2021. The court has also issued several orders and several written memorandum of decision
from March 12, 2012 to October 22, 2021. At every juncture, the court heard the defendants arguments
and found that they presented no defense to this eviction action.

And, the defendants have had the benefits of multiple stay orders from this court, even though they lost
the summary process trial conducted on April 15, 2021 and the court stayed the execution issuance to
July 12, 2021. And, the court stayed the matter further on August 5, 2021 due to a pending UniteCT
application to August 26, 2021. And the court stayed the matter again due to a pending bankruptcy
petition by court order on Sept. 2, 2021. And finally, after hearing on Oct. 22, 2021, the court stayed the
execution to November 1, 2021.

The court will not stay this execution issuance any longer.

Thus, the Objection to Execution is OVERRULED.

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Judge: NADA K SIZEMORE

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Procedures and Technical Standards (https://jud.ct.gov/external/super/E-Services/e-standards.pdf}, section 51-193c of the
Connecticut General Statutes and Connecticut Practice Book Section 4-4.

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